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                                                                         Direct: 612-626-7812




                                            September 30, 2024

Via ECF

The Honorable William J. Fisher
U.S. Courthouse, Courtroom 2A
316 North Robert Street
St. Paul, MN 55101

       Re:    Regents of the University of Minnesota v. Jacob Arliss Lavan
              Adv. 24-04054

Dear Judge Fisher:

       This morning, I received tragic and sad news that the Defendant, Jacob Lavan,
unexpectedly passed away. Considering this, the University of Minnesota is voluntarily
dismissing its Amended Complaint and withdrawing its objection to a bankruptcy discharge in
the above-referenced matter. We will be filing our Notice of Voluntary Dismissal this week.

        This matter is scheduled for a mediation with you on Thursday, October 3. I am writing
to respectfully request that this mediation be cancelled. Thank you for your consideration.

                                            Very truly yours,

                                            s/ Timothy J. Pramas

                                            Timothy J. Pramas
                                            Senior Associate General Counsel

TJP/mh

cc:    William L. Bodensteiner
        (Via ECF)
       The Honorable William J. Fisher
        (Via Email: wjfchambers@mnb.uscourts.gov)
